           Case 7:21-cr-00440-NSR Document 58 Filed 12/07/21 Page 1 of 1




                                                                                             12/7/2021




Robert J. Aiello                                                                  69-06 Grand Avenue
Deveraux L. Cannick                                                        Maspeth, New York 11378
   ______                                                        (718) 426-0444, Fax (718) 803-9764
                                                                         Email: info@aiellocannick.com
Jennifer Arditi


                                                         December 5, 2021
VIA ECF
Honorable Nelson S. Roman                              Deft.'s request for a temporary bail modification is
United States District Court                           GRANTED, without objection by the Gov't and the
Southern District of New York                          Pretrial Services Officer, for the below-stated specified
300 Quarropas Street, Chambers 533                     dates. Deft. shall provide Pretrial Services with specific
White Plains, New York 10601-4150                      travel information. Clerk of Court requested to terminate
                                                       the motion (doc. 57).
         Re:      United States v. Alicia Ayers
                                                       Dated: Dec. 7, 2021
                  Case No.: 21-CR-00440 -01
                                                           White Plains, NY
Dear Judge Roman:

         We write to request a bail enlargement for Ms. Alicia Ayers. My client is requesting permission
to travel to and from Stroudsburg, Pennsylvania on December 10th and returning on December 12th in
order to secure business for her travel agency business.

        She will be residing at the KOD Villas (Kareem DeCastro), located at 2157 River Road,
East Stroudsburg, Pennsylvania 18302 - (914) 619-8165. The site visit is necessary in order to
offer this space to her clients with respect to her travel agency.

        Please know that AUSA Courtney Heavey and Probation Officer Jessica Killian do not object to
our request.

         Thank you in advance for your consideration in this matter.


                                                         Respectfully submitted,

                                                         /s/ Deveraux L. Cannick

                                                         Deveraux L. Cannick
DLC/mw
cc:  AUSA Heavey
     Probation Officer Killian
